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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                        CASE NO.: 1:17-20001-CIV-MARTINEZ-GOODMAN

  YAZAN SALEH, individually and on behalf
  of all others similarly situated,

           Plaintiff,
  v.

  MIAMI GARDENS SQUARE ONE, INC.
  D/B/A TOOTSIE'S CABARET,
  a Florida corporation, and RCI
  HOSPITALITY HOLDINGS, INC., a Texas
  Corporation,

        Defendants.
  ________________________________________/
  MIAMI GARDENS SQUARE ONE, INC.
  D/B/A TOOTSIE'S CABARET,
  a Florida corporation, and RCI
  HOSPITALITY HOLDINGS, INC., a Texas
  Corporation,

           Defendants/Counter-Plaintiffs,
  v.

  SVCLV, LLC, an Idaho Limited Liability
  Company, and FREEDOMPAY INC., a
  Pennsylvania Corporation,

        Counter-Defendants.
  _________________________________________/

                 DEFENDANT, RCI HOSPITALITY HOLDINGS, INC.’S
          NOTICE OF PLAINTIFF’S FILING OF RELATED OR SIMILAR ACTION

           Defendant/Counter-Plaintiff, RCI Hospitality Holdings, Inc. (“RCIHH”), pursuant to S.D.

  Fla. L.R. 3.8, hereby files its Notice of Plaintiff Yazan Saleh’s filing of a subsequent Related or

  Similar Action in Miami-Dade County Circuit Court on January 8, 2018 and attached hereto as

  Exhibit A (the “Parallel State Court Proceeding”).


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           The Parallel State Court Proceeding involves the identical parties, the identical

  underlying factual allegations, the identical cause of action for alleged violations of the Fair and

  Accurate Credit Transactions Act or FACTA (15 U.S.C. § 1691(c)(g)), and the identical national

  class definition as the above captioned matter, defining the proposed class as follows:

                 (i) All persons in the United States (ii) who, when making payment
                 for goods or services at one of RCI Hospitality Holdings, Inc.’s
                 subsidiaries across the country (iii) made such payment using a
                 credit or debit card (iv) and were provided with a point of sale
                 receipt (v) which displayed more than the last 5 digits of said
                 credit or debit card (vi) within the two (2) years prior to the filing
                 of the complaint.

  Compare ECF No. 1 at ¶ 51 with Exhibit A at ¶ 67.

  Date: January 31, 2018                    Respectfully submitted,
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                                            Plaintiff, RCI Hospitality Holdings, Inc.

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                                            Counsel for Defendant/Counter-
                                            Plaintiff, RCI Hospitality Holdings, Inc.


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                                   CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on this 31st day of January 2018, I electronically filed the

  foregoing with the Clerk of the Court by using the CM/ECF system which will send a notice of

  electronic filing to the following:

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  Attorneys for Plaintiff

                                                    By: /s/ Jason S. Oletsky
                                                        Attorney




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